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AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Oct 7 2019

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas


                                                                                                             By:

                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:19-M -08782(1) RFC
                                                                         §
(1) GERMAN ALEXI CACERES-LANZA                                           §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about October 04, 2019 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to the

United States, enter, attempt to enter, or was found in the United States after having been previously excluded, deported, or removed

from the United States without receiving permission to reapply for admission to the United States from the Attorney General of the

United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4),

and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: " The

DEFENDANT, German Alexi CACERES-Lanza, an alien to the United States and a citizen of Honduras was found hiding in a

cotton field north of the Rio Grande River approximately ten miles west of the Tornillo Port of Entry in Tornillo, "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                           Signature of Complainant
                                                                                           Apodaca, Vanessa
                                                                                           Border Patrol Agent

October 7, 2019                                                                      at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:19-mj-08782-RFC Document 1 Filed 10/07/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08782(1)

WESTERN DISTRICT OF TEXAS

(1) GERMAN ALEXI CACERES-LANZA

FACTS (CONTINUED)

Texas in the Western District of Texas. From statements made by the DEFENDANT to the arresting agent, the
DEFENDANT was determined to be a native and citizen of Honduras, without immigration documents allowing
him to be or remain in the United States legally. The Defendant has been previously removed from the United
States to Honduras on June 7, 2017 through Phoenix, Arizona. The Defendant has not previously received the
expressed consent from the Attorney General of the United States or the Secretary of Homeland Security to
reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been removed one time.
On June 7, 2017, through PHOENIX, AZ

CRIMINAL HISTORY:

NONE
